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          Exhibit I
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component                     Case 1:20-cv-00457-ADA 104Document 38-9
                                                                   105 Filed 10/09/20 Page 4 of 4computer architecture
      • Polynomial or O(n") if the number of steps is proportional to n             This ability makes it possible for a computer to perform many operations
        raised to some constant power. For example, if the computation              without the need for a person to type in new instructions each time.
        involves comparing each item of input with all of the other items,
                                                                                  Computer a link on the DESKTOP or in the START MENU of Microsoft Win-
        it will take n 2 steps. Many sorting algorithms are O(n2 ) . A program
                                                                                    dows Vista and later versions that contain links to all the disk drives,
        that contains k nested loops, each with a number of steps propor-
                                                                                    the Control Panel, and other infom1ation about the system.
        tional to n, will take time proportional to n•.
                                                                                       Ordinarily, folders are directories. The root directory of a disk drive
      • Exponential or 0(/t') if the number of teps i proportional to orne
                                                                                    is also a folder. "Computer" is a special folder that gives you access to
        constant k raised to the nth power. This is what happens if the com-
                                                                                    the entire machine.
        puter has to try arranging n elements in all pos ible sequences.
                                                                                       In previous ver ion of Windows, this folder was called "My
        Exponential-time computations are generally not practical.
                                                                                    Computer."
   There are some other pos ibilities; for example, Quicksort takes time
   proportional ton log n, whkh is less than n 2 .                                computer architecture the design and internal structure of digital
      In calculating complexity, we ignore factors that become insignificant        computers.
   as n becomes large. Suppose a computation requires 112 + 3n + 5 step .              Fundamentally, a computer is a machine that can store instructions
   For sufficiently large n, this gets closer and closer to n2 , so we say that     and execute them. Thus, it consists of two major parts, MEMORY and the
   the complexity is O(n2 ).                                                        central processing unit (CPU), which communicate through a set of paral-
      Beside the time complexity, a computation may require constant,               lel electrical connections called the BUS (Figure 63). The bu al o con-
   linear, polynomial, or exponential amounts of memory. See also COM·              nects to input-output device uch as a screen, a keyboard, and disk
   PUTER SCIENCE; LIMrTS OF COMPUTER POWER; QUICKSORT.                              drives.
component any part of a larger system, either software or hardware. Reus-
  able parts of programs are called software components. !For examples of
                                                                                             Data(
  how software components are used, see AcrrvEx; COM; CORBA.
                                                                                                                                                       Central
composite video the kind of video signal used in analog TV sets and till                                                                             processing
                                                                                   BUS   Address[                                                       unit
  used in some types of video equipment. The whole signal is transmitted
                                                                                                                                                       (CPU)
  on one wire. By contrast, an RGB ignal has separate wires for red,
  green, and blue. See MONITOR.
                                                                                          Contro{
compositing the combining of bitmap images from different sources or
  different objects in a single image. The opacity, or ALPHA, of each object
  determines how it combines with objects behind it. See also
  CHROMA-KEYING.
compound a substance consisting of more than one ELEME . T; for example,            FIGURE 63. CPU communicates with, memory and other devices via bus
  a water molecule (H2 0) consists of two hydrogen atoms and one oxygen
  atom.                                                                                 The CPU spends it time retrieving instructions from memory and
compression see DATA COMPRESSION.                                                    doing whatever those in tructions say. Each instruction is a pattern of
                                                                                     bits (binary ones and zeroes, represented by electrical on and off sig-
CompuServe a pioneering online information service, which later became               nals). When the instruction reaches the CPU, the CPU must decode
  part of AOL.                                                                       (recognize) it and activate the appropriate functional unir within the
computational linguistics the u e of computers in the study of human                 CPU in order to carry out the instruction. Functional units include
  language, and the study of how to make computers understand informa-               adder , multipliers, circuits to compare bit patterns, etc., all of which are
  tion ex pres ed in human languages. See NATURAL LA GUAGE PROCESSING;               built from logic gates (for an example, see BINARY ADDrTION).
  PARS! G.                                                                              The CPU contains REGISTERS to hold data that is being worked on. For
                                                                                     example, in order to add two numbers, the CPU wiU typically retrieve
computer a machine capable of executing instructions on data. The distin-            the two numbers from memory into registers, perform the addition,
  guishing feature of a computer is its ability to store its own instructions.       place the result in another register, and finally store it back into memory.
